    Case 1:17-mc-00151-LPS Document 274 Filed 05/23/21 Page 1 of 1 PageID #: 7506




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                                              May 23, 2021




        Mr. John A. Cerino
        Clerk of the Court
        U.S. District Court for the District of Delaware
        844 North King Street
        Wilmington, Delaware 19801

                 Crystallex International Corp. v. Bolivarian Republic of Venezuela, et al.,
                                            C.A. No. 17-mc-151-LPS

        VIA ELECTRONIC FILING

        Dear Mr. Cerino:

                I enclose a corrected version of my May 21, 2021 letter to Chief Judge Stark filed
        on behalf of the Intervenor Bondholders. This corrected version resolves a formatting
        issue that reduced the legibility of the version filed with the Court on May 21. D.I. 272.
        The content of the enclosed letter is unaltered.

                                                   Respectfully submitted,

                                                   /s/ Daniel A. Mason
                                                   Daniel A. Mason (#5206)

        Enclosure
        cc: All Counsel of Record
